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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

D.A.N. JOINT VENTURE III, L.P.,                 )
as Assignee of Bankruptcy Trustee               )
Richard M. Fogel, the Chapter 7 Trustee         )
For the Bankruptcy Estate of Debtor             )   Case No. 1:18-cv-00349
Nicholas S. Gouletas,                           )   Judge Robert M. Dow, Jr.
                        Plaintiff,              )
      v.                                        )
                                                )
DOROTHEA TOURIS, et al.,                        )
                   Defendants.                  )


   DOROTHEA TOURIS’S REPLY IN SUPPORT OF HER MOTIONS TO
   DISMISS THE FIRST AMENDED COMPLAINT PURUANT TO RULES
     12(b)(6) and 9(b) and to JOIN AND ADOPT DEFENDANT NATEL
    MATSCHULAT’S RULE 12(b)(6) MOTION TO DISMISS BASED ON
                    PLAINTIFF’S LACK OF STANDING

      Defendant Dorothea Touris (“Ms. Touris”), by her attorney, and pursuant

to FED. R. CIV. P. 12(b)(6) and 9(b), hereby replies in support of: (1) her motion

to dismiss plaintiff’s First Amended Complaint (“Complaint”); and (2) her

motion to join and adopt defendant Natel Matschulat’s Rule 12(b)(6) motion to

dismiss based on plaintiff’s lack of standing (Doc. #68), as a part of her instant

motion to dismiss, and states as follows:




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I.       PLAINTIFF CANNOT REFUTE THAT THE BANKRUPTCY TRUSTEE
         LACKS AUTHORITY TO SELL ITS STATUTORILY PRESCRIBED
         RIGHT TO PURSUE THESE FRAUDULENT CONVEYANCE CLAIMS. 1

         In supplement to her joining and adopting defendant Natel Matschulat’s

Reply on the issue of plaintiff’s lack of standing, Ms. Touris emphasizes that it is

very important to keep in mind that the Supreme Court has ruled that the phrase

“the trustee may [take a specific action]” means that only the trustee may take

that action. See Hartford Underwriters Ins. Co. v. Union Planters bank, N.A., 530 U.S.

1 (2000). Because the Supreme Court held that the operative language means

that only the trustee may prosecute those actions, a third party such as plaintiff,

that buys these claims for its own profit (and not for the benefit of the debtor’s

estate), lacks standing to assert them.

         Equally important is the fact that the very Seventh Circuit case law upon

which plaintiff relies actually shows that state law avoidance claims that can only

be brought by a creditor and not the debtor, prior to bankruptcy, are not actions

which are property of the estate. Therefore, plaintiff lacks standing to bring the

state law avoidance claims against Ms. Touris. See Mellon Bank, N.A. v. Dick

Corp., 351 F.3d 290 (7th Cir. 2003).




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 As with her instant motion and its supporting memorandum, and in the interests of judicial
economy and efficiency, Ms. Touris joins and adopts defendant Natel Matschulat’s Reply in
support of her Rule 12(b)(6) motion to dismiss (Doc. #93), and fully incorporates that reply
within Ms. Touris’s reply for this, her Section I.

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II.   PLAINTIFF CANNOT REBUT ITS FAILURE TO STATE CLAIMS
      FOR AVOIDANCE ACTIONS UNDER IUFTA §§5(a)(1) and 6(a).

      Try as it may, plaintiff fails to negate Ms. Touris’s motion positions with

respect to its pleading deficiencies regarding its avoidance claims. Ultimately,

plaintiff’s response does not refute that Ms. Touris was not an insider because she

was not a “managing agent,” and further ignores the absence of the other

“badges of fraud” as to Ms. Touris on which plaintiff’s response position relies.

In addition, plaintiff ignores its own factual inconsistencies within its amended

complaint in its attempt to rescue its contention that Gouletas was insolvent at

the time of the alleged transfers to Ms. Touris. Accordingly, these continuing

failures require the dismissal of these claims.

      A.     No Claim is Stated for Relief Under IUFTA §5(a)(1).

      Plaintiff responds to the §5(a)(1) challenge by arguing: (1) that the

“insider” status is but one “badge of fraud,” and that the issue of the IUFTA’s

application is not singularly dispositive of the determination of that issue; and (2)

that a “managing agent” can include an ordinary friendship-relationship, such as

existed here, under the IUFTA. (Doc#95:6). However, the facts in this case

actually refute plaintiff’s position, rather than bolster it.

      First, in its response to Ms. Touris, plaintiff incorporates its prior responses

with respect to defendant Paul Jones’s motion to dismiss to support its avoidance

claims, which are contained in Doc. #74. Consequently, as defendant Jones’s

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reply position relates to Jones, those same reply positions refute plaintiff’s

incorporated argument against Ms. Touris here in that the alleged transfers to

Ms. Touris were not fraudulent because:

   • Ms. Touris was not an insider (factor 1);

   • Gouletas did not control the entirety of the alleged transfers (factor 2);

   • The alleged transfers were not concealed (factor 3)

   • Plaintiff fails to allege that the alleged transfers to Ms. Touris were
     substantially all of Gouletas’s assets, (factor 5);

   • Gouletas did not abscond (factor 6);

   • Plaintiff’s amended complaint contradicts its assertion that Gouletas was
     insolvent at the time the alleged transfers were made and does not plead
     facts showing that any eventual insolvency resulted from these alleged
     transfers to Ms. Touris (factor 9);

   • Plaintiff’s only pled insolvency date for Gouletas is at the time of his
     bankruptcy on January 17, 2016; this was actually a year after the first
     alleged transfer complained of was made to Ms. Touris, and
     approximately eight months after the last such alleged transfer. (See,
     Doc.#80:10) (factor10);

   • Plaintiff did not allege that Gouletas “transferred the essential assets of the
     business to a lienor who transferred who transferred the assets to an
     insider of the debtor (factor 11)

740 ILCS 160/5(b). Therefore, a close reading of plaintiff’s amended complaint

shows that plaintiff has not “adequately alleged numerous ‘badges of fraud’”

against Ms. Touris.




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      Second, plaintiff’s response position that the IUFTA’s meaning of

“managing agent” is not exclusive to corporate and/or business relationships

ignores the case law cited by Ms. Touris which apply that status only to business

relationships. (Doc.#80:4-9) While there may not be cases limiting the meaning

of “managing agents” of a debtor to business organizations per se, plaintiff fails to

offer any cases providing that the “managing agent” status applies to individuals

in the way Ms. Touris demonstrates that the courts have applied it only to

businesses and corporations. (Doc.#95:6)

      In the end, plaintiff’s attempt to stretch the meaning of “managing agent”

in order to cloak Ms. Touris with insider status is contrary to the cited Illinois

and the Seventh Circuit’s application of that term. This is a critical point because

plaintiff’s Count I against Ms. Touris is entirely constructed upon her being

presumed to be such an insider by virtue of plaintiff’s distorted meaning of

“managing agent” which is neither contemplated by the terms of the IUFTA, or

applied by the Illinois court that addresses that specific term in the context of

that law.

      B.     No Claim is Stated for Relief Under IUFTA §6(a).

      In attempting to defend its claim for avoidance under the IUFTA §6(a),

plaintiff refers to its amended complaint Exhibit Px16 in suggesting that it

somehow establishes Gouletas’s insolvency by way of a balance sheet dated


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February 28, 2014. (Doc.#95:7) However, that exhibit is not pled in alleging

Gouletas’s insolvency, but rather, it is cited relative to Gouletas’s disclosure of a

first mortgage regarding an entity parking lot noting that the same balance sheet

failed to also disclose certain indebtedness owed, not by Gouletas, but by “800

SWP to HBI on the HBI Second Mortgage, or any other alleged indebtedness

supposedly owed by 800 SWP to HBI.” (Doc.#11:17-18)

      On the other hand, plaintiff’s actual factual allegations regarding

Gouletas’s personal solvency alleges that as of March 31, 2013 Gouletas had a net

worth of $25,287,560 and “was flush with cash” in the amount of $240,000. (Doc.

#11 at ¶¶8,9); and further alleges that the outstanding judgments against

Gouletas by January 23, 2014 totaled $12,522,130, thus resulting in the pled

conclusion that Gouletas had a positive net worth as of January 23, 2014 in the

amount of approximately $12,765,430. (Doc. #11 at ¶¶12-14)

      Again, since plaintiff is otherwise silent as to any time reference which

establishes Gouletas’s insolvency within the meaning of the IUFTA, (other than

the date of his Bankruptcy filing in 2016), it has failed to establish that Gouletas

was insolvent at the time of any alleged transfers to Ms. Touris in 2015. On the

contrary, plaintiff actually pleads facts demonstrating that Gouletas was solvent

at the time of these transfers, while pleading no facts to show that he eventually

became insolvent in 2016 as a result of these particular transfers to Ms. Touris.


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      Indeed, plaintiff’s Exhibit Px 16 does not resolve this factual pleading

inconsistency—it creates it! Its post-pleading attempt to now assert that the

February 28, 2014 balance sheet somehow trumps the inconsistent facts pled

indicating that Gouletas had a positive net worth the month before, on January

23, 2014, in the amount of approximately $12,765,430, is remarkable but not

tolerable. As the Seventh Circuit has opined: “Although our pleading rules do

not tolerate factual inconsistencies in a complaint, they do permit inconsistencies

in legal theories.” Tamayo v. Blagojevich, 526 F.3d 1074, 1086 (7th Cir., 2008).

Plaintiff’s response offers no inconsistent legal theory, but, rather, inconsistent

facts in an attempt to save a deficient complaint. Hence, it should not be

tolerated.

      Moreover, plaintiff entirely avoids addressing Ms. Touris’s showing that it

distorts the IUFTA’s insolvency definition in stating that “Gouletas was

generally not paying all of his debts as they became due” so as to invoke the

IUFTA §3(b)’s insolvency by presumption definition, and thereby trigger the

Act’s application. (Doc. #11 at ¶9) This ostrich in the sand response position is

telling because, as shown, the IUFTA’s §3(b) actually provides that “[a] debtor

who is generally not paying his debts as they become due is presumed to be

insolvent.” (740 ILCS 160/3(b)) The words “all of” are plaintiff’s, not the

IUFTA’s. It is also telling for the reason that plaintiff’s amended complaint


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admits that Gouletas failed to only pay some unidentified “unfavored creditors”

while, at the same time, admitting that he did “routinely pay” others. (Doc. #11

at ¶9) This allegation is clearly incongruous with the IUFTA which does not

apply to situations where a debtor may generally be paying his debts, but fails to

pay only certain debts. (See, Doc.#80:8-11)

III.   THE AMENDED COMPLAINT’S PURPORTED COMMON LAW
       THEORY CLAIMS AT COUNTS V, VI and VII REMAIN DEFICIENT.

       Plaintiff responds to Ms. Touris’s challenges against its common law

theories by merely stitching together a collection of general remarks, claiming

that it provides sufficient facts comporting with Rule 9(b). But plaintiff actually

avoids its obligation to provide the threshold specificity called for by Rule 9(b).

Rather than facetiously asking whether Ms. Touris’s demand for specific

allegations to which she is entitled under Rule 9(b) are advanced “with a straight

face,” plaintiff should direct itself towards the four corners of its facts-starved

pleading, and thereby, remedy it.

       A.    Speculation Cannot Support a Claim for Civil Conspiracy.

       Specifically, in response to Ms. Touris’s challenge against plaintiff’s civil

conspiracy claim, plaintiff readily admits that, at best, it hopes that “upon trial,

Plaintiff will be able to prove that . . . [Ms. Touris] knew for sure that Gouletas

was in serious financial difficulty,” effectively excusing its present duty to plead

that she in fact agreed to participate in tortious or wrongful conduct as required

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by its reliance upon Adcock v. Brakegate, Ltd., 164 Ill. 2d 54, 645 N.E. 2d 888 (Ill.

1994).

         This presents two problems for plaintiff’s position: First, the Adcock court

declared that:

         To state a cause of action for conspiracy, a plaintiff must allege not only
         that one of the conspirators committed an overt act in furtherance of the
         conspiracy, but also that such act was tortious or unlawful in character.

[citations omitted]. Merely alleging that Ms. Touris knew that Gouletas was in

“financial difficulty” and agreed to write checks for him does not sufficiently

allege wrongful or tortious conduct as required by Adcock to plead conspiracy

against Ms. Touris. Illinois law requires that plaintiff establish that Ms. Touris

knew that Gouletas was committing a wrongful or tortious act relative to the

judgments and citations pending against him, and that her actions were

wrongful and tortious because of that knowledge.

         Second, just “suggesting the existence of an agreement,” as plaintiff posits,

is insufficient because, as the Adcock court further states:

         Once a defendant knowingly agrees with another to commit an unlawful
         act or a lawful act in an unlawful manner, that defendant may be held
         liable for any tortious act committed in furtherance of the conspiracy. . .”

Adcock, at 164 Ill. 2d 64. Without knowing that an act is unlawful or tortious, Ms.

Touris cannot be alleged to have conspired to commit an unlawful act.




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      Plaintiff’s response does not refute the fact that it cannot plead that Ms.

Touris agreed with Gouletas to “commit an unlawful act or a lawful act in an

unlawful manner” by virtue of any knowledge that Gouletas had judgments and

citations pending against him; otherwise, it would do so. Instead, it insufficiently

offers the Court a prediction that it may do so in the future before trial.

      B.     Plaintiff provides no response to support Aiding and Abetting.

      No separate cause of action for aiding and abetting a fraud exists under

Illinois law. Renovitch v. Kaufman, 905 F. 2d 1040, 1049 (7th Cir. 1990). Rather,

“aiding and abetting is a theory for holding the person who aides and abets

liable for the tort [fraud] itself; the rejection of aiding and abetting as an

independent tort is not the same thing as saying that there is never liability for

aiding and abetting.” Hefferman v. Bass, 467 F.3d 596, 601(7th Cir. 2006).

      Nevertheless, in order to hold a defendant liable under this theory a

plaintiff must allege each of the three elements set forth in Ms. Touris’s

memorandum in support of her instant motion. (Doc. #80:17) Again, plaintiff’s

response ignores those elements and proffers only a reference to its response

position which is tantamount to: “We think that we gave you enough and what

we didn’t give you, we hope to get before trial.”

      But this is not enough. Ms. Touris is entitled at this pleading stage to be

told within the four-corners of a pleading subject to the heightened notice level


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required by Rule 9(b): (i) how Ms. Touris’s actions can be wrongful without

plaintiff alleging that she knew of Gouletas’s judgments and citations; (ii) how,

without that knowledge was Ms. Touris aware of her role when providing the

assistance alleged; and (iii) how Ms. Touris knowingly and substantially assisted

the alleged scheme without first knowing of those judgments and citations.

      C.     Plaintiff cannot allege that Ms. Touris had knowledge of any
             reasonable expectations of collecting judgments.

      Similarly, plaintiff responds to Ms. Touris’s motion position regarding its

tortious interference claim with the same dismissive indifference that it bestows

upon the rest of her motion. But Illinois law clearly requires plaintiff to plead its

tortious interference claim with facts towards proving: (1) plaintiff’s reasonable

expectation of the collection of the judgments; (2) Ms. Touris’s knowledge of the

plaintiff’s expectancy; (3) purposeful interference by Ms. Touris that prevented

any such legitimate expectancy from ripening into the collection of the

judgments; and (4) damages to plaintiff resulting from such interference.

Fellhauer v. City of Geneva, 142 Ill. 2d 495, 511 (Ill. 1991); also see: Clarage v. Kuzma,

342 Ill. App. 3d 573, (3d Dist. 2003); GTC Fin. Servs., Ltd. v. Asset Builders Assocs.,

LLC, Case No. 13-CV-08605 (N.D. Ill. Lee, J. 2014).

      Ultimately, plaintiff’s tortious interference claim is fatal for two reasons:

(1) Plaintiff cannot plead facts that Ms. Touris had any knowledge of any such

expectancies by any underlying judgment-creditors, and; (2) plaintiff cannot

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allege she did so, either within the pleading requirements of either Rule 8 or Rule

9. In the end, plaintiff’s response does nothing to contradict this, thus requiring

that this claim should likewise be dismissed.

                              IV.     CONCLUSION

      For all these reasons, as well as those set forth in Ms. Touris’s motion to

dismiss as and her memorandum of law in support of her motion, it is

respectfully requested that the Court enter an order dismissing plaintiff’s

amended complaint.

                                Respectfully submitted,

                                DOROTHEA TOURIS

                                By:    Nicholas G. Grapsas
                                       Her Attorney



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                             CERTIFICATE OF SERVICE

       I certify that on August 20, 2018, I electronically filed the foregoing pleading with
the Clerk of the Court for the United States District Court for the Northern District,
Eastern Division, by using the Clerk of Court’s CM/ECF system.

    Participants in the case who are registered CM/ECF users will be served by the
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                                 /s/ Nicholas G. Grapsas
                                 NICHOLAS G. GRAPSAS




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